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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA

                                          CRIMINAL MINUTES – GENERAL


Case No.        20-2326M                                                                 Date: June 19, 2020


Present: The Honorable:      ALEXANDER F. MacKINNON, U.S. MAGISTRATE JUDGE

Interpreter         N/A

                    Ilene Bernal                                  N/A                               Alexander Wyman
                Courtroom Deputy Clerk                  Court Reporter / Recorder                   Assistant U.S. Attorney


 U.S.A. v. Defendant(s)              Present Cust     Bond              Attorneys for Defendants:           Present     App   Ret

WILLIAM SADLIER                     N/A             X                 Adam Olin, DFPD                    N/A           X



Proceedings: (IN CHAMBERS)

       On the Court’s own motion, the date by which defendant shall post a cash deposit (and submit two new
 rd
3 party affidavits of surety) in compliance with the conditions of his bond is extended from June 21, 2020 to
June 25, 2020 to allow adequate time for submission and consideration of an amended stipulation for modification
of bond.

         IT IS SO ORDERED.




                                                                                                                        :
                                                                                 Initials of Deputy Clerk              IB




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